Case 2:12-cv-05707-MRP-E Document 244 Filed 06/02/15 Page 1 of 2 Page ID #:10789



     1

     2
                                                                 6/2/15
     3
                                                                 BH
     4

     5

     6

     7

     8

     9

    10
                            UNITED STATES DISTRICT COURT
    11
                          CENTRAL DISTRICT OF CALIFORNIA
    12
                                      WESTERN DIVISION
    13
           OPLUS TECHNOLOGIES, LTD.,            CASE NO.: CV12-5707 MRP (Ex)
    14

    15                  Plaintiff,              Chief Judge George H. King
    16
               v.                                 ORDER OF DISMISSAL
    17                                            PURSUANT TO FED. R. CIV. P.
    18     SEARS HOLDING CORPORATION and          41(A)(1)(A)(II)
           VIZIO, INC.,
    19

    20                  Defendants.

    21

    22

    23

    24

    25

    26

    27

    28


                                 [PROPOSED] ORDER OF DISMISSAL
 1026989
Case 2:12-cv-05707-MRP-E Document 244 Filed 06/02/15 Page 2 of 2 Page ID #:10790



     1           Pursuant to Rule 41(a)(1)(A)(ii) of the Federal Rules of Civil Procedure, the
     2     Settlement Agreement dated May 13, 2015, and the Stipulation to Dismissal filed
     3     concurrently, VIZIO’s Motion for Attorneys’ Fees and Expert Witness Fees is
     4     dismissed and this case is closed.
     5           This Court shall retain jurisdiction to enforce the terms of the Settlement
     6     Agreement.
     7

     8           IT IS SO ORDERED.
     9

    10     DATED: June 2, 2015                   ______________________________
    11
                                                 HON. GEORGE H. KING
                                                 UNITED STATES DISTRICT JUDGE
    12

    13

    14

    15

    16

    17

    18

    19

    20

    21

    22

    23

    24

    25

    26

    27

    28


                                       [PROPOSED] ORDER OF DISMISSAL
 1026989
